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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  Judge William J. Martínez

Civil Action No. 17-cv-1007-WJM

WILLIAM SEMPLE, individually;
THE COALITION FOR COLORADO UNIVERSAL HEALTH CARE, a/k/a COOPERATE
COLORADO, a not-for-profit corporation;
COLORADOCAREYES, a Colorado not-for-profit corporation; and
DANIEL HAYES, individually,

       Plaintiffs,

v.

WAYNE W. WILLIAMS, in his official capacity as Secretary of State of Colorado,

       Defendant.


                                   FINAL JUDGMENT


       PURSUANT to and in accordance with Fed. R. Civ. P. 58(a), all Orders entered

during the pendency of this case, and the Order Making Absolute Order To Show

Cause, entered by the Honorable William J. Martínez, United States District Judge, on

March 27, 2018, it is

       ORDERED that the Court=s Order to Show Cause (ECF No. 18) is MADE

ABSOLUTE. It is

       FURTHER ORDERED that the State of Colorado, its officers, agents, servants,

employees, attorneys, and any other person or entity in active concert or participation

with any of the foregoing, are PERMANENTLY ENJOINED from enforcing Colo. Const.

art. V, ' 1(2.5). It is

       FURTHER ORDERED that Final Judgment is entered in favor of Plaintiffs and
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against Defendant, and this case is terminated. It is

      FURTHER ORDERED that Plaintiffs shall have their costs upon compliance with

D.C.COLO.LCivR 54.1.

      Dated at Denver, Colorado this 27th day of March, 2018.


APPROVED BY THE COURT:                         FOR THE COURT:
                                               JEFFREY P. COLWELL, CLERK

                                               By: s/Deborah Hansen
Judge William J. Martínez                      Deborah Hansen, Deputy Clerk
